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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

AMERICAN ANTI-VIVISECTION                 )
SOCIETY, et al.,                          )
                                          )
                        Plaintiffs,       ) NO. 18-cv-01138-TNM
                                          )
             v.                           )
                                          )
UNITED STATES DEPARTMENT                  )
OF AGRICULTURE, et al.,                   )
                                          )
                       Defendants.        )

      PLEASE TAKE NOTICE that the office address, phone number, and email address of

Bruce A. Wagman have changed. The new contact information is as follows:

      Bruce A. Wagman
      RILEY SAFER HOLMES & CANCILA, LLP
      456 Montgomery Street, 16th Floor
      San Francisco, CA 94104
      Telephone: 415.275.8540
      bwagman@rshc-law.com


Date: November 14, 2018                  Respectfully submitted,


                                         By:    /s/ Bruce A. Wagman
                                         Bruce A. Wagman (159987)
                                         456 Montgomery Street, 16th Floor
                                         San Francisco, CA 94104
                                         Telephone: 415.275.8540
                                         bwagman@rshc-law.com

                                         Attorney for Plaintiffs American Anti-Vivisection
                                         Society and Avian Welfare Coalition
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                                  CERTIFICATE OF SERVICE

          I hereby certify that on November 14, 2018, I electronically filed the foregoing with the

Clerk of Court using the ECF system, which will send notification of such filing to all counsel of

record.

                                                      /s/ Bruce A. Wagman




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